 Case 08-14631-GMB            Doc 258-1 Filed 05/07/08 Entered 05/07/08 16:23:20                  Desc
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 BLANK ROME LLP
 Joel C. Shapiro, Esquire
 Shlomo B. Troodler, Esquire
 Woodland Falls Corporate Park
 210 Lake Drive East, Suite 200
 Cherry Hill, NJ 08002
 (856) 779-3600
 Counsel for Arcus ASI Funding, LLC

 In re:                                                Case No. 08-14631

Shapes/Arch Holdings L.L.C.,                           Judge: Gloria M. Burns
Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C.,
and Ultra L.L.C.,                                      Chapter: 11

                        Debtors.


                                    CERTIFICATE OF SERVICE

          I hereby certify that on this 7th day of May, 2007, a copy of the foregoing Notice of
 Withdrawal was served electronically via the Court’s ECF system on all subscribed parties. In
 addition, a copy was mailed first class, postage prepaid, to:

          Jerrold N. Poslusny, Jr., Esq.                         Peter J. D'Auria, Esq.
          Cozen O’Connor                                         Office of the United States Trustee
          LibertyView, Suite 300                                 One Newark Center
          457 Haddonfield Road                                   Suite 2100
          Cherry Hill, NJ 08002
                                                                 Newark, NJ 07102
          Email: jposlusny@cozen.com
                                                                 Email: Peter.J.D’Auria@usdoj.gov
          Attorneys for Debtors

          Mark E. Felger, Esq.
          Cozen O’Connor
          Chase Manhattan Centre
          1201 North Market Street
          Suite 1400
          Wilmington, DE 19801
          Email: mfelger@cozen.com
          Attorneys for Debtors
                                                /s/ Joel C. Shapiro
                                                Joel C. Shapiro, Esquire
                                                Counsel for Arcus ASI Funding LLC

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